           Case 1:11-cr-00174-DAD Document 52 Filed 12/16/11 Page 1 of 2


 1
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 4
      Attorney for Defendant, YURI MACHADO
 5
                                            UNITED STATES DISTRICT COURT
 6

                                            EASTERN DISTRICT OF CALIFORNIA
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 8                                                      )
     UNITED STATES OF AMERICA,                          ) CASE NO. 1:11-CR-00174 AWI
 9                                                      )
              Plaintiff,                                ) STIPULATION AND
                                                        ) ORDER TO CONTINUE SENTENCING
10   vs.                                                ) HEARING
                                                        )
11   YURI MACHADO,                                      )
                                                        ) DATE: January 3, 2012
                                                        ) TIME:  9:00 am
12            Defendant.
                                                        ) JUDGE: Hon. Anthony W. Ishii
13

14            IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the

15   defendant by and through his respective attorney, to continue the Status Conference hearing from Tuesday,

16   January 3, 2012 at 9:00 a.m. to Tuesday, January 17, 2012, at 9:00 a.m. The reason for the continuance is that

17   defense counsel is consulting with an immigration specialist that cannot meet with counsel until Wednesday,

18   January 4, 2012.

19            The parties respective also agree that any delay resulting from this continuance shall be excluded in

20   the interest of justice to 18 U.S.C. sections 3161(h)(1)(F), 3161(h)(8)(A) and 3161 (h)(8)(B)(1).

21   DATED: December 16, 2011

22                                                    Respectfully submitted,

23                                                    /S/ Richard A. Beshwate, Jr.____________
                                                      RICHARD A. BESHWATE, JR.
24                                                    Attorney for Defendant,
                                                      YURI MACHADO
         Case 1:11-cr-00174-DAD Document 52 Filed 12/16/11 Page 2 of 2


 1   DATED: December 16, 2011

 2                                       Respectfully submitted,

 3                                       /S/ Henry Z. Carbajal
                                         HENRY Z. CARBAJAL III
 4                                       Assistant U.S. Attorney
                                         Agreed to via telephone on 12/14/11
 5

 6   .
     .
 7                                        ORDER

 8   IT IS SO ORDERED.

 9   Dated:   December 16, 2011
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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